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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


THOMAS MICHAEL LOSS,
                                               U.S.D.C. CASE NO: 1:08-cv-874
               Plaintiff,
                                               HON. GORDON J. QUIST
vs.

JAMES R. DAVIS, MATTHEW
RHYNDRESS, and NORTON SHORES
POLICE DEPARTMENT,

              Defendants.
____________________________________/
R. Curtis Mabbitt (P24844)            Michael S. Bogren (P34835)
Attorney for Plaintiff                Attorney for Defendants
Halbower & Mabbitt                    Plunkett Cooney
8 West Walton                         535 S. Burdick Street, Ste. 256
Muskegon, MI 49440                    Kalamazoo, MI 49007
Telephone: 231/726-3720               Telephone: 269/226-8822



                               JOINT STATUS REPORT

       A Rule 16 Telephone Scheduling Conference is scheduled for October 27, 2008

at 10:00 a.m. before the Honorable Ellen S. Carmody. Appearing for the parties will be

Curtis Mabbitt as counsel for Plaintiff and Michael S. Bogren as counsel for Defendants.

       1)      Jurisdiction

               The basis for the Court’s jurisdiction is 28 U.S.C. §1331, federal question,

as the Plaintiff alleges a violation of his Federal constitutional rights under 42 U.S.C.

§1983. There are no objections to jurisdiction.

       2)      Jury or Non-Jury

               This case is to be tried before a jury.
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        3)     Judicial Availability

               The parties do not agree to have a United States Magistrate Judge conduct

all further proceedings in this case, including trial, and to order the entry of final

judgment.



        4)     Geographic Transfer

               The parties do not believe that geographic transfer is warranted in this

case.



        5)     Statement of the Case

               Plaintiff:

               The Plaintiff claims he was arrested in the front yard of his home for a

seat-belt violation. He was placed in the back seat of the arresting officer's patrol car.

The arresting officer was joined by a second officer after the Plaintiff had been placed in

the patrol car. Thereafter, both officers decided to enter the home and conduct a search,

which they did. The Plaintiff contends there was no legal justification for the search of

the home. The Plaintiff contends he was damaged and harmed by this illegal search.

               Defendants:

               Defendants’ position is that Officers Davis and Rhyndress constitutionally

entered the house on the basis of exigent circumstances. Plaintiff did not produce any

documentation showing he lived at the house. He had fled from the police and continued

to act in an evasive and suspicious manner after he exited his vehicle. The police




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properly entered the house without a warrant to determine if there was anyone inside the

house in need of assistance.     The individual officers are also entitled to qualified

immunity. There is no evidence that can establish liability against the City of Norton

Shores.



          6)   Pendent State Claims

               This case does not include pendent state claims.



          7)   Joinder of Parties and Amendment of Pleadings

               The parties expect to file all motions for joinder of parties to this action

and to file all motions to amend the pleadings by December 3, 2008.



          8)   Disclosures and Exchanges

               (i)     Fed.R.Civ.P. 26(a)(1) disclosures, including the identity of known

                       lay witnesses, shall be made by Plaintiff by November 15, 2008

                       and by Defendants by November 15, 2008.

               (ii)    Not applicable

               (iii)   The Plaintiff expects to be able to furnish the names of the

                       Plaintiff’s expert witnesses to the Defendants by December 15,

                       2008. The Defendants expect to be able to furnish the names of the

                       Defendants’ expert witnesses to the Plaintiff by January 15, 2009.

                       In this case it would not be advisable to exchange written expert

                       witness reports as contemplated by Fed.R.Civ.P. 26(a)(2).




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               (iv)    The parties are unable to agree on voluntary production at this

                       time.



        9)     Discovery

               The parties believe that all discovery proceedings can be completed by

March 15, 2009. The parties recommend the following discovery plan:

               The parties agree that the limitations on the number of interrogatories and

depositions set forth in Fed.R.Civ.P. 33(a) (25, including subparts, for Plaintiff and

Defendants) are appropriate. The parties do not believe that the presumptive time limits

for depositions should be modified.

               Expert depositions are allowed.



        10)    Motions

               The parties agree that all dispositive motions will be filed by April 15,

2009.



        11)    Alternative Dispute Resolution

               The parties propose that this matter be submitted to Case Evaluation

pursuant to Local Rule 16.5.



        12)    Length of Trial

               The parties estimate that if this case proceeds to trial, the trial will last 2

days total, allocated as follows: 1 days for Plaintiff’s case; 1 days for Defendants’ case.




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        13)      Prospects of Settlement

                 No meaningful settlement discussions have taken place.



        14)      Electronic Document Filing System

                 Counsel for both parties participate in the Court’s electronic filing system

and agree to participate in this case.



                                               HALBOWER & MABBITT


DATED: October 10, 2008                        BY: _//s// R. Curtis Mabbitt___________
                                                      R. Curtis Mabbitt (P24844)
                                                      Attorney for Plaintiff



                                               PLUNKETT COONEY


DATED: October 10, 2008                        BY:_//s// Michael S. Bogren__________
                                                  Michael S. Bogren (P34835)
                                                  Attorney for Defendants

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